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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,              :
       Plaintiff,
  vs.                                  :      Case No. 2:23-CR-00014

                                       :
NALAH T. JACKSON                              JUDGE WATSON
       Defendant.                      :


          UNOPPOSED MOTION TO CONTINUE TRIAL AND MOTION
                         DEADLINES

      COMES NOW, defense counsel for Nalah T. Jackson, pursuant to 18 U.S.C. §

3161(h)(7)(A) and B(IV) and moves this Court to continue trial currently scheduled

for October 10, 2023. Specifically, the parties seek to set a trial date at the end of

November or first week in December, as a place holder, while the parties work on a

final resolution.     Additionally, defense moves to extend all other dates and

deadlines listed in the scheduling Order for a length of time consistent with the new

trial date. The grounds for this motion are set forth in the attached Memorandum.

Undersigned counsel submits that the requested extension would serve the interests

of justice and that the time would be excludable pursuant to 18 U.S.C. §3161(h)(7)(A)

and (B)(IV). Assistant United States Attorneys Emily Czerniejewski and Noah Litton

do not oppose the requested continuance.

                                              Respectfully submitted,
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                                               JOSEPH MEDICI
                                               FEDERAL PUBLIC DEFENDER

                                                /s/ Stacey MacDonald
                                               Stacey MacDonald (WA 35394)
                                               Assistant Federal Public Defender
                                               George Chaney, Jr. (LA 22215)
                                               Assistant Federal Public Defender
                                               10 West Broad Street, Suite 1020
                                               Columbus, Ohio 43215-3469
                                               Telephone: (614) 469-2999
                                               Facsimile: (614) 469-5999
                                               Stacey_MacDonald@fd.org
                                               George_Chaney@fd.org

                                               Attorney for Defendant
                                               Nalah T. Jackson


                      MEMORANDUM IN SUPPORT OF MOTION


      On January 19, 2023, the Grand Jury returned an Indictment against Ms.

Jackson charging her with two counts of Kidnapping of a Minor pursuant to 18 U.S.C.

§ 1201(a)(1)&(g). Ms. Jackson entered a plea of not guilty on January 27, 2023.

Trial is currently set for October 10, 2023.

      Defense has received extensive discovery in this case. Discovery spans from

Ohio to Indiana. Additionally, Defense has been engaged in an extensive mitigation

investigation regarding Ms. Jackson’s mental health.         Counsel have gathered

hundreds of pages of documents from a multitude of hospitals and treatment facilities

in multiple states.

      Defense has retained a forensic psychologist to conduct a forensic evaluation

of Ms. Jackson as to her mental state at the time of the offense and whether any

mental defenses may be available. In addition, this evaluation is a necessary part
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of the mitigation package defense will be providing in negotiations to resolve the case

short of a trial.   This psychological evaluation is currently ongoing. Defense will

receive the forensic report from the expert by November 10, 2023. Ms. Jackson is

twenty-six years old with an extensive history of hospitalizations due to psychosis.

These periods of psychosis include during and around the timeframe of the instant

offense.

       The government has conveyed a pretrial offer to Ms. Jackson.           Defense

counsel has relayed this offer to Ms. Jackson. Ms. Jackson is open to resolving the

case pretrial but has not endorsed acceptance of the government’s current offer. The

parties anticipate once the forensic evaluation has been received by defense and

provided to the Government, we can finalize negotiations and a plea offer.

       Mr. Chaney is retiring on November 30, 2023. The parties are seeking a short

continuance to a date at the end of November or beginning of December as a

“placeholder” while the parties make final attempts to resolve the case pretrial and

before Mr. Chaney’s retirement.    Should negotiations fail, the parties would provide

the Court with an additional motion to continue and a realistic trial date. Defense

would need to bring in new counsel to replace Mr. Chaney as well.

       Defense counsel has spoken with Ms. Jackson about her right to a speedy trial.

Ms. Jackson agrees with this motion to continue the trial and waives her right to a

speedy trial.

       Counsel submits that the ends of justice served by granting the continuance

outweigh the interests of the public and the defendant in a speedy trial. 18 U.S.C. §
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3161(7)(A). The failure to grant the requested continuance would deny counsel for the

defendant reasonable time necessary for effective preparation taking into account the

exercise of due diligence. 18 U.S.C. § 3161 (h)(7)(B)(iv).             AUSAs Emily

Czerniejewski and Noah Litton do not oppose the requested continuance.

      WHEREFORE, for the reasons set forth above, Defense Counsel for Ms.

Jackson respectfully requests this Court grant this motion to continue the trial and

associated deadlines.



                                             Respectfully submitted,

                                             JOSEPH MEDICI
                                             FEDERAL PUBLIC DEFENDER

                                              /s/ Stacey MacDonald
                                             Stacey MacDonald (WA 35394)
                                             Assistant Federal Public Defender
                                             George Chaney, Jr. (LA 22215)
                                             Assistant Federal Public Defender
                                             10 West Broad Street, Suite 1020
                                             Columbus, Ohio 43215-3469
                                             Telephone: (614) 469-2999
                                             Facsimile: (614) 469-5999
                                             Stacey_MacDonald@fd.org
                                             George_Chaney @fd.org

                                             Attorney for Defendant
                                             Nalah T. Jackson
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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court by using the CM/ECF system. I certify that all participants in the case are

registered CM/ECF users and that service will be accomplished by the CM/ECF

system.


                                               /s/ Stacey MacDonald
                                               Stacey MacDonald (WA 35394)
                                               Assistant Federal Public Defender




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